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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

AMARILLO INDEPENDENT                                     §
SCHOOL DISTRICT,                                         §
                                                         §
        Plaintiff,                                       §
                                                         §
v.                                                       § CASE NO. 2:15-cv-00155-J
                                                         §
THE TRAVELERS LLOYDS                                     §
INSURANCE COMPANY,                                       §
                                                         §
Defendant.                                               § JURY DEMANDED

                            SIXTH SUPPLEMENTAL JOINT REPORT
                                 ON STATUS OF APPRAISAL
TO THE HONORABLE COURT:
        In accordance with this Court’s order dated December 11, 2017 (DE #69), Plaintiff

Amarillo Independent Scholl District (“AISD”) and Defendant The Travelers Lloyds Insurance

Company (“Travelers”) file this Sixth Supplemental Joint Report on Status of Appraisal and

respectfully state:

        1.       The parties have conferred with their designated appraisers – John Minor (for

AISD) and Jim D. Koontz (for Travelers) – regarding the status of the pending appraisal

proceeding.

        2.       Based on these discussions, the parties understand that the Appraisers and Umpire,

Hon. William G. (Bud) Arnot, II (Ret.), have conducted site inspections of several properties

involved in the claim. The Umpire has expressed his intent to issue a final award summarizing the

scope and value of all damage associated with the claims by May 2018. The parties anticipate

further meetings and phone conferences between the Appraisers and Umpire prior to May, in an

effort to finalize the Appraisal Award.



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        3.       Accordingly, the parties respectfully request the opportunity to provide this Court

with a Seventh Supplemental Joint Report on Status of Appraisal no later than May 11, 2018.

                                                         Respectfully submitted,

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                                                         By: /s/ Jennifer L. Gibbs
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